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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No: ___________

SUSAN OWEN-BROOKS, on behalf of herself and all others similarly situated,

       Plaintiff,

v.

DISH NETWORK CORPORATION, a Nevada Corporation,

       Defendant.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL



       Plaintiff Susan Owen-Brooks, individually and on behalf of the Classes defined below of

similarly situated persons (“Plaintiff”), alleges the following against DISH Network Corporation

(“DISH” or “Defendant”) based upon personal knowledge with respect to herself and on

information and belief derived from, among other things, investigation of counsel and review of

public documents as to all other matters:

                                       INTRODUCTION

       1.      Plaintiff brings this class action against DISH for its failure to properly secure and

safeguard Plaintiff’s and other similarly situated DISH customers’ and employees’ personal

information from hackers.

       2.      DISH, based in Englewood, Colorado, is a satellite television company that serves

nearly 10 million customers from around the country. According to news reports, “this widespread




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outage hit Dish.com, the Dish Anywhere app, Boost Mobile (a subsidiary owned by Dish

Wireless), and other websites and networks owned and operated by Dish Network.”1

       3.        In a Form 8-K filed with the Securities and Exchange Commission on or about

February 28, 2023 the company announced “a network outage that affected internal servers and IT

telephony” and that the company “became aware that certain data was extracted from the

Corporation’s IT systems as part of this incident[,]” which possibly “includes personal

information.”2

       4.        On or about March 14, 2023, DISH emailed customers notifying them of a hacking

incident in which data including personal information was compromised.

       5.        This email confirmed that on February 23, DISH experienced a cybersecurity

incident. In the email DISH stated that on February 27, DISH it “became aware that certain data

was extracted from our IT systems as part of this incident” (the “Data Breach”). In response, the

company says that it began an investigation which is ongoing.

       6.        According to news reports, the incident was actually a “ransomware attack on the

Corporation’s employees, customers, business, operations or financial results” carried out by a

Russian ransomware gang by the name of “Black Basta.”3




1
 https://www.bleepingcomputer.com/news/security/dish-network-confirms-ransomware-attack-
behind-multi-day-outage/
2
 https://www.sec.gov/ix?doc=/Archives/edgar/data/0001001082/000155837023002254/dish-
20230223x8k.htm
3
 https://www.bleepingcomputer.com/news/security/dish-network-confirms-ransomware-attack-
behind-multi-day-outage/
                                                 2
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       7.      On information and belief, DISH has not yet formally notified all impacted

individuals (consumers or employees) and has not yet notified state Attorney Generals and other

reporting authorities about the full impact of the Data Breach.

       8.      Upon information and belief, information compromised in the Data Breach

included highly sensitive data that represents a gold mine for a ransomware gang like Black Basta.

On information and belief, the Data Breach included customer and employee names, dates of birth,

addresses, email addresses, Social Security numbers, driver’s license or state identification card

numbers, credit card or account information (collectively the “Private Information”) and additional

personally identifiable information (“PII”) that DISH collected and maintained.

       9.      Armed with the Private Information accessed in the Data Breach, and a head start,

data thieves can commit a variety of crimes including, e.g., opening new financial accounts in

Class Members’ names, taking out loans in Class Members’ names, using Class Members’ names

to obtain medical services, using Class Members’ information to obtain government benefits, filing

fraudulent tax returns using Class Members’ information, obtaining driver’s licenses in Class

Members’ names but with another person’s photograph, and giving false information to police

during an arrest.

       10.     Therefore, Plaintiff and Class Members will show that they have suffered

ascertainable losses in the form of the loss of the benefit of their bargain, out-of-pocket expenses,

and the value of their time reasonably incurred to remedy or mitigate the effects of the attack.

       11.     Plaintiff brings this class action lawsuit to address DISH’s inadequate safeguarding

of Class Members’ Private Information that it collected and maintained.




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        12.    The potential for improper disclosure of Plaintiff’s and Class Members’ Private

Information was a known risk to DISH, and thus DISH was on notice that failing to take steps

necessary to secure the Private Information from those risks left that property in a dangerous

condition.

        13.    DISH and its employees failed to properly monitor the computer network and

systems that housed the Private Information. Had DISH properly monitored its networks, it would

have discovered the Data Breach sooner.

        14.    Plaintiff’s and Class Members’ identities are now at risk because of DISH’s

negligent conduct since the Private Information that DISH collected and maintained is now likely

in the hands of data thieves and unauthorized third-parties.

        15.    Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

individuals whose Private Information was accessed and/or compromised during the Data Breach.

        16.    Plaintiff seeks remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to DISH’s

data security systems, future annual audits, and adequate credit monitoring services funded by

DISH.

                                            PARTIES

        17.    Plaintiff Susan Owen-Brooks is, and at all times mentioned herein was, an

individual citizen of the State of North Carolina residing in the City of Ahoskie in Hertford County.

Plaintiff Owen-Brooks was informed by DISH that her information was compromised in the Data

Breach.




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        18.     Defendant DISH, a satellite television company, is a Nevada corporation with its

principal place of business in Englewood, Colorado.

                                 JURISDICTION AND VENUE

        19.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. Upon information and belief, the number of class members is over 100, many

of whom have different citizenship from Defendant DISH. Thus, minimal diversity exists under

28 U.S.C. § 1332(d)(2)(A).

        20.     This Court has jurisdiction over the Defendant because its principal place of

business is in this District, and the computer systems implicated in this Data Breach are likely

based in this District.

        21.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District. DISH has harmed

some Class Members residing in this District.

          DISH COLLECTS HIGHLY SENSTIVE CUSTOMER INFORMATION

        22.     DISH is a satellite television provider based in Englewood, Colorado. Founded in

1995, DISH quickly grew to be one of the biggest satellite television providers in the United States,

serving nearly 10 million customers across the country. DISH employs more than 14,000 people

in the United States and generates over $2 billion in annual revenue.

        23.     As a condition of receiving services and/or employment, DISH requires that its

customers and employees entrust it with highly sensitive personal information. In the ordinary




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course of receiving service from DISH, customers, for example, are required to provide sensitive

personal and private information, such as:

                 •   Names;

                 •   Dates of birth;

                 •   Addresses

                 •   Email addresses

                 •   Social Security numbers;

                 •   Driver’s license numbers and information;

                 •   Financial account information; and

                 •   Payment card information.

          24.    DISH uses this information, inter alia, to provide services and collect payment.

          25.    In its privacy policy, DISH promises its customers that it will not share this Personal

Information with third parties except in specified, defined circumstances such as service providers

and mailing list partners.4

          26.    In its privacy policy, DISH also assures customers, “We take information security

seriously. We use commercially reasonable efforts to protect information we collect and maintain

against loss; misuse; and unauthorized access, disclosure, alteration, or destruction.”5

          27.    By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, DISH assumed legal and equitable duties and knew or should have




4
    https://www.dish.com/privacy-policy (last visited May 8, 2023).
5
    Id.
                                                   6
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known that it was responsible for protecting Plaintiff’s and Class Members’ Private Information

from disclosure.

       28.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       29.     Plaintiff and Class Members relied on DISH to keep their Private Information

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information.

                                    DISH’S DATA BREACH

       30.     Plaintiff was a customer of DISH. As a mandatory part of being a customer, DISH

collected names, addresses, Social Security number, financial information, and driver’s license

information for Plaintiff.

       31.     On or about February 25, 2023, news reports circulated that for the previous 24

hours DISH had been experiencing a “widespread outage [that] affect[ed] Dish.com, Dish

Anywhere app as well as several websites and networks owned by the corporation. Customers also

suggest[ed] the company’s call center phone numbers are unreachable.”6 Later reports indicated

that the outages also effected Boost Mobile, which is a subsidiary of DISH.7

       32.     According to public announcements by DISH, including a Form 8-K filed with the

SEC, the company experienced a cybersecurity incident on February 23, 2023. The unauthorized




6
 https://www.bleepingcomputer.com/news/security/dish-network-goes-offline-after-likely-
cyberattack-employees-cut-off/
7
 https://www.bleepingcomputer.com/news/security/dish-network-confirms-ransomware-attack-
behind-multi-day-outage/
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individual or individuals, believed to have been the Black Basta ransomware gang according to

news reports, accessed a cache of highly sensitive PII.8

           33.   Although DISH has not divulged to Plaintiff, the Class, or the public the exact

information that was accessed, given the widespread nature of the breach and the fact that DISH

collects all of this data, Plaintiff believes that it includes or may include: individuals’ names,

addresses, telephone numbers, email addresses, Social Security numbers, dates of birth, driver’s

license numbers, bank account data, and credit card numbers.

           34.   DISH has confirmed to customers that the Data Breach included personal

information and says that “[t]he forensic investigation and assessment of the impact of this incident

is ongoing.” It promises customers that it will let “impacted customers know” what personal

information was compromised.9 However, as of March 22, 2023, DISH told its customers that it

was still working to restore all of its “customer experiences … but it will take a little time before

our systems are fully restored.”10

           35.   DISH had obligations created by contract, industry standards, common law, and

representations made to Plaintiff and Class Members to keep their Private Information confidential

and to protect it from unauthorized access and disclosure.

           36.   As of the filing of this action, DISH has not provided specific notice to the vast

majority of its effected customers and has provided no information regarding exactly what PII was



8
 https://www.bleepingcomputer.com/news/security/dish-network-confirms-ransomware-attack-
behind-multi-day-outage/
9
    https://www.dish.com/statement
10
     Id.
                                                 8
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stolen. Nevertheless, after learning about the security incident, Plaintiff discovered that over $200

had been improperly removed from her DISH account without her consent. She contacted DISH

and a company representative confirmed to her that her PII was part of the Data Breach.

       37.     Plaintiff and Class Members provided their Private Information to DISH with the

reasonable expectation and mutual understanding that DISH would comply with its obligations to

keep such information confidential and secure from unauthorized access and to provide timely

notice of security breaches.

       38.     DISH’s data security obligations were particularly important given the substantial

increase in cyberattacks and ransomware attacks in particular.

       39.     DISH knew or should have known that its electronic records would be targeted by

cybercriminals.

                  DISH FAILED TO COMPLY WITH FTC GUIDELINES

       40.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making.

       41.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines for businesses.

The guidelines note that businesses should protect the personal customer information that they

keep; properly dispose of personal information that is no longer needed; encrypt information stored

on computer networks; understand their network’s vulnerabilities; and implement policies to

correct any security problems. The guidelines also recommend that businesses use an intrusion


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detection system to expose a breach as soon as it occurs; monitor all incoming traffic for activity

indicating someone is attempting to hack the system; watch for large amounts of data being

transmitted from the system; and have a response plan ready in the event of a breach.

       42.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       43.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       44.     The FTC has also long warned companies about the possibility of

ransomware attacks in particular, providing inter alia specific guidance to companies regarding

how to avoid such attacks, and going so far as to provide a “Ransomware Quiz” for companies to

use to identify ransomware.11

       45.     On information and belief, DISH failed to properly implement basic data security

practices. DISH’s failure to employ reasonable and appropriate measures to protect against


11
   https://www.ftc.gov/business-guidance/small-businesses/cybersecurity/ransomware;
https://www.ftc.gov/business-guidance/small-businesses/cybersecurity/quiz/ransomware;
https://www.ftc.gov/business-guidance/blog/2020/12/ransomware-prevention-update-businesses
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unauthorized access to patient PII constitutes an unfair act or practice prohibited by Section 5 of

the FTCA.

          46.    DISH was at all times fully aware of its obligation to protect the PII of its customers.

                DISH FAILED TO COMPLY WITH INDUSTRY STANDARDS

          47.    As noted above, experts studying cybersecurity routinely identify businesses as

being particularly vulnerable to cyberattacks because of the value of the PII which they collect and

maintain.

          48.    Like the FTC, law enforcement and industry leaders have long warned of the

dangers regarding ransomware attacks. In 2021 alone, the FBI's Internet Crime Complaint

Center received 3,729 complaints regarding ransomware attacks. “Those attacks accounted for

financial losses of $49.2 million.”12 However, that number may be too small because according

to the U.S. Treasury's Financial Crimes Enforcement Network analysis, in 2021 there were $1.2

billion in Bank Secrecy Act filings for ransomware-related incidents, up from just $416 million in

similar filings in 2020.13

          49.    Among other things, security experts have noticed an increase in recent years of so

called “Double Extortion:”

                 In the past, ransomware was about attackers encrypting information
                 found on a system and then demanding a ransom in exchange for a
                 decryption key. With double extortion, attackers also exfiltrate the
                 data to a separate location. There, it can be used for other purposes,




12
     https://www.techtarget.com/searchsecurity/feature/Ransomware-trends-statistics-and-facts
13
     https://www.techtarget.com/searchsecurity/feature/Ransomware-trends-statistics-and-facts

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                 including leaking the information to a public website if a payment
                 is not received.14

           50.   According to news reports, Double Extortion is what happened to DISH.

           51.   Several best practices have been identified that a minimum should be implemented

by businesses like DISH, including but not limited to: educating all employees; strong passwords;

multi-layer security, including firewalls, anti-virus, and anti-malware software; encryption,

making data unreadable without a key; multi-factor authentication; backup data; and limiting

which employees can access sensitive data. Various experts have provided numerous

recommendations regarding how to prevent Double Extortion ransomware attacks. These include

“preventive data encryption and preventive data deception” among other things.15

           52.   Upon information and belief, Defendant failed to follow some or all of these

industry best practices, including a failure to implement multi-factor authentication.

           53.   Other best cybersecurity practices that are standard in the industry include installing

appropriate malware detection software; monitoring and limiting the network ports; protecting

web browsers and email management systems; setting up network systems such as firewalls,

switches, and routers; monitoring and protection of physical security systems; protection against

any possible communication system; and training staff regarding critical points. Defendant failed

to follow these cybersecurity best practices, including failure to train staff.

           54.   Upon information and belief, Defendant failed to meet the minimum standards of

any of the following frameworks, thereby opening the door to the cyber incident and causing the



14
     Id.
15
     http://people.se.cmich.edu/liao1q/papers/ransomwareportfolio.pdf
                                                   12
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Data Breach: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

                            DISH’S SECURITY OBLIGATIONS

       55.     DISH breached its obligations to Plaintiff and Class Members and/or was otherwise

negligent and reckless because it failed to properly maintain and safeguard its computer systems

and data. DISH’s unlawful conduct includes, but is not limited to, the following acts and/or

omissions:

          a.   Failing to maintain an adequate data security system to reduce the risk of data

               breaches and cyber-attacks;

          b.   Failing to adequately protect customers’ Private Information;

          c.   Failing to properly monitor its own data security systems for existing intrusions;

          d.   Failing to sufficiently train its employees in the proper handling of emails

               containing PII;

          e.   Failing to fully comply with FTC guidelines for cybersecurity, in violation of

               Section 5 of the FTCA; and

          f.   Failing to adhere to industry standards for cybersecurity.

       56.     As the result of computer systems in need of security upgrading, inadequate

procedures for handling emails containing viruses or other malignant computer code, and

employees who opened files containing the virus or malignant code that perpetrated the


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cyberattack, DISH negligently and unlawfully failed to safeguard Plaintiff’s and Class Members’

Private Information.

        57.     Accordingly, as outlined below, Plaintiff’s and Class Members’ daily lives were

severely disrupted. What’s more, they now face an increased risk of fraud and identity theft.

Plaintiff and the Class Members also lost the benefit of the bargain they made with DISH.

                   DATA BREACHES, FRAUD, AND IDENTITY THEFT

        58.     The FTC hosted a workshop to discuss “informational injuries” which are injuries

that consumers suffer from privacy and security incidents, such as data breaches or unauthorized

disclosure of data.16 Exposure of personal information that a consumer wishes to keep private, may

cause both market and non-market harm to the consumer, such as the ability to obtain or keep

employment. Consumers loss of trust in e-commerce also deprives them of the benefits provided

by the full range of goods and services available which can have negative impacts on daily life.

        59.     Any victim of a data breach is exposed to serious ramifications regardless of the

nature of the data. Indeed, the reason criminals steal information is to monetize it. They do this by

selling the spoils of their cyberattacks on the black market to identity thieves who desire to extort

and harass victims or take over victims’ identities in order to engage in illegal financial transactions

under the victims’ names. Because a person’s identity is akin to a puzzle, the more accurate pieces

of data an identity thief obtains about a person, the easier it is for the thief to take on the victim’s



16
   FTC Information Injury Workshop, BE and BCP Staff Perspective, Federal Trade
Commission, (October 2018), available at
https://www.ftc.gov/system/files/documents/reports/ftc-informational-injury-workshop-be-bcp-
staff-perspective/informational_injury_workshop_staff_report_-_oct_2018_0.pdf. (last visited
May 8, 2023).

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identity, or otherwise harass or track the victim. For example, armed with just a name and date of

birth, a data thief can utilize a hacking technique referred to as “social engineering” to obtain even

more information about a victim’s identity, such as a person’s login credentials or Social Security

number. Social engineering is a form of hacking whereby a data thief uses previously acquired

information to manipulate individuals into disclosing additional confidential or personal

information through means such as spam phone calls and text messages or phishing emails.

        60.    The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone

steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing a credit freeze on their credit, and correcting their credit

reports.17

        61.     Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

        62.    Identity thieves can also use Social Security numbers and driver’s license numbers

to obtain a driver’s license or official identification card in the victim’s name but with the thief’s

picture; use the victim’s name and Social Security number to obtain government benefits; or file a

fraudulent tax return using the victim’s information. In addition, identity thieves may obtain a job

using the victim’s Social Security number, rent a house or receive medical services in the victim’s




17
   See IdentityTheft.gov, Federal Trade Commission, available at
https://www.identitytheft.gov/Steps (last visited May 8, 2023).

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name, and may even give the victim’s personal information to police during an arrest resulting in

an arrest warrant being issued in the victim’s name.

       63.     A study by Identity Theft Resource Center shows the multitude of harms caused by

fraudulent use of PII:18




       64.     Moreover, theft of Private Information is also gravely serious. Its value is

axiomatic, considering the value of “big data” in corporate America and the fact that the

consequences of cyber thefts include heavy prison sentences. Even this obvious risk-to-reward

analysis illustrates beyond doubt that Private Information has considerable market value.

       65.     It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs and when it is discovered, and also between when Private Information


18
   Steele, Jason, Credit Card and ID Theft Statistics, CreditCards.com (October 23, 2017),
available at https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-
statistics-1276/ (last visited May 8, 2023).

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and/or financial information is stolen and when it is used. According to the U.S. Government

Accountability Office, which conducted a study regarding data breaches:19

               [L]aw enforcement officials told us that in some cases, stolen data
               may be held for up to a year or more before being used to commit
               identity theft. Further, once stolen data have been sold or posted on
               the Web, fraudulent use of that information may continue for years.
               As a result, studies that attempt to measure the harm resulting from
               data breaches cannot necessarily rule out all future harm.
       66.     Private Information is such a valuable commodity to identity thieves that once the

information has been compromised, criminals often trade the information on the “cyber black

market” for years.

       67.     There is a strong probability that entire batches of stolen information have been

dumped on the black market and are yet to be dumped on the black market, meaning Plaintiff and

Class Members are at an increased risk of fraud and identity theft for many years into the future.

Thus, Plaintiff and Class Members must vigilantly monitor their financial and medical accounts

for many years to come.

                     PLAINTIFF’S AND CLASS MEMBERS’ DAMAGES

       68.     Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

       69.     Plaintiff’s Private Information, including sensitive PII, was compromised as a

direct and proximate result of the Data Breach.




19
   Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However,
the Full Extent Is Unknown, GAO (June 2007), available at
https://www.gao.gov/assets/270/262904.html (last visited May 8, 2023).
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        70.     As a direct and proximate result of DISH’s conduct, Plaintiff and Class Members

have been placed at an imminent, immediate, and continuing increased risk of harm from fraud

and identity theft.

        71.     As a direct and proximate result of DISH’s conduct, Plaintiff and Class Members

have been forced to expend time dealing with the effects of the Data Breach.

        72.     Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such

as loans opened in their names, tax return fraud, utility bills opened in their names, credit card

fraud, and similar identity theft.

        73.     Plaintiff and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to target such schemes more effectively to Plaintiff and Class

Members.

        74.     Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

        75.     The information that DISH maintains regarding Plaintiff and Class Members, when

combined with publicly available information, would allow nefarious actors to paint a complete

financial and personal history of Plaintiff and Class Members.

        76.     Plaintiff and Class Members were also damaged via benefit-of-the-bargain

damages. Plaintiff and Class Members overpaid for a service that was intended to be accompanied

by adequate data security but was not. Part of the price Plaintiff and Class Members paid to DISH

was intended to be used by DISH to fund adequate security of DISH’s computer property and


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protect Plaintiff’s and Class Members’ Private Information. Thus, Plaintiff and the Class Members

did not get what they paid for.

       77.     Plaintiff and Class Members have spent and will continue to spend significant

amounts of time to monitor their financial accounts and records for misuse.

       78.     Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims have suffered or will suffer ascertainable losses in the

form of out-of-pocket expenses and the value of their time reasonably incurred to remedy or

mitigate the effects of the Data Breach relating to:

                   a. Finding fraudulent charges;

                   b. Canceling and reissuing credit and debit cards;

                   c. Purchasing credit monitoring and identity theft prevention;

                   d. Addressing their inability to withdraw funds linked to compromised

                       accounts;

                   e. Taking trips to banks and waiting in line to obtain funds held in limited

                       accounts;

                   f. Placing “freezes” and “alerts” with credit reporting agencies;

                   g. Spending time on the phone with or at a financial institution to dispute

                       fraudulent charges;

                   h. Contacting financial institutions and closing or modifying financial

                       accounts;

                   i. Resetting automatic billing and payment instructions from compromised

                       credit and debit cards to new ones;


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                   j. Paying late fees and declined payment fees imposed as a result of failed

                       automatic payments that were tied to compromised cards that had to be

                       cancelled; and

                   k. Closely reviewing and monitoring bank accounts and credit reports for

                       unauthorized activity for years to come.

       79.     Indeed, as noted, Plaintiff’s DISH account was zeroed out after the Data Breach

when she previously had over $200 in that account. This is consistent with news reports stating

that DISH’s payment systems were compromised by the attack.

       80.     Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of DISH, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing personal and financial

information is not accessible online, that access to such data is password-protected, and that such

data is properly encrypted.

       81.     As a direct and proximate result of DISH’s actions and inactions, Plaintiff and Class

Members have suffered a loss of privacy and either have suffered harm or are at an imminent and

increased risk of future harm.

                                    CLASS ALLEGATIONS

       82.     Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of herself and on behalf of all other persons similarly situated (the “Class”).

       83.     Plaintiff proposes the following Class definitions, subject to amendment as

appropriate:

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                Nationwide Class
                All individuals in the United States who had Private Information
                stolen as a result of the Data Breach, including all who were sent a
                notice of the Data Breach.

                North Carolina Subclass
                All residents of North Carolina who had Private Information stolen
                as a result of the Data Breach, including all who were sent a notice
                of the Data Breach.

        84.     Excluded from each of the above Classes are Defendant and its parents or

subsidiaries, any entities in which it has a controlling interest, as well as their officers, directors,

affiliates, legal representatives, heirs, predecessors, successors, and assigns. Also excluded are any

Judge to whom this case is assigned as well as his or her judicial staff and immediate family

members.

        85.     Plaintiff reserves the right to modify or amend the definitions of the proposed

Classes before the Court determines whether certification is appropriate.

        86.     Each of the proposed classes meet the criteria for certification under Fed. R. Civ.

P. 23(a), (b)(2), and (b)(3).

        87.     Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Though the exact number and identities of Class Members are unknown at this time,

based on information and belief, the Class consists of nearly 10 million customers of DISH whose

data was compromised in the Data Breach. The identities of Class Members are ascertainable

through DISH’s records, Class Members’ records, self-identification, and other means.




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       88.     Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                   a. Whether DISH engaged in the conduct alleged herein;

                   b. Whether DISH’s conduct violated the North Carolina Deceptive Trade

                      Practices Act, invoked below;

                   c. When DISH first learned of the Data Breach and whether its response was

                      adequate;

                   d. Whether DISH unlawfully used, maintained, lost, or disclosed Plaintiff’s

                      and Class Members’ Private Information;

                   e. Whether DISH failed to implement and maintain reasonable security

                      procedures and practices appropriate to the nature and scope of the

                      information compromised in the Data Breach;

                   f. Whether DISH’s data security systems prior to and during the Data Breach

                      complied with applicable data security laws and regulations;

                   g. Whether DISH’s data security systems prior to and during the Data Breach

                      were consistent with industry standards;

                   h. Whether DISH owed a duty to Class Members to safeguard their Private

                      Information;

                   i. Whether DISH breached its duty to Class Members to safeguard their

                      Private Information;




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               j. Whether computer hackers obtained Class Members’ Private Information

                  in the Data Breach;

               k. Whether DISH had a legal duty to provide timely and accurate notice of the

                  Data Breach to Plaintiff and Class Members;

               l. Whether DISH breached its duty to provide timely and accurate notice of

                  the Data Breach to Plaintiff and Class Members;

               m. Whether DISH knew or should have known that its data security systems

                  and monitoring processes were deficient;

               n. What damages Plaintiff and Class Members suffered as a result of DISH’s

                  misconduct;

               o. Whether DISH’s conduct was negligent;

               p. Whether DISH’s conduct was per se negligent;

               q. Whether DISH was unjustly enriched;

               r. Whether Plaintiff and Class Members are entitled to actual and/or statutory

                  damages;

               s. Whether Plaintiff and Class Members are entitled to additional credit or

                  identity monitoring and are entitled to other monetary relief; and

               t. Whether Plaintiff and Class Members are entitled to equitable relief,

                  including   injunctive   relief,   restitution,   disgorgement,   and/or   the

                  establishment of a constructive trust.




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        89.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s Private Information, like that of every other Class Member, was compromised in the

Data Breach.

        90.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Members of the Class. Plaintiff’s Counsel is competent and experienced

in litigating class actions, including data privacy litigation of this kind.

        91.     Predominance. DISH has engaged in a common course of conduct toward Plaintiff

and Class Members, in that, on information and belief, all of Plaintiff’s and Class Members’ data

was stored on the same computer systems and unlawfully accessed in the same way. The common

issues arising from DISH’s conduct affecting Class Members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        92.     Superiority. A Class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for DISH. In

contrast, the conduct of this action as a Class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

Member.


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          93.   Class certification also is appropriate under Fed. R. Civ. P. 23(b)(2). DISH has

acted or has refused to act on grounds generally applicable to the Class, so that final injunctive

relief or corresponding declaratory relief is appropriate as to the Class as a whole.

          94.   Finally, all members of the proposed Class are readily ascertainable. DISH has

access or will have access to Class Members’ names and addresses affected by the Data Breach.

                                      CLAIMS FOR RELIEF

                                  COUNT I
                                NEGLIGENCE
            (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
                ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

          95.   Plaintiff restates and realleges the allegations in paragraphs 1-94 as if fully set forth

herein.

          96.   DISH knowingly collected, came into possession of, and maintained Plaintiff’s and

Class Members’ Private Information, and had a duty to exercise reasonable care in safeguarding,

securing, and protecting such information from being compromised, lost, stolen, misused, and/or

disclosed to unauthorized parties.

          97.   DISH’s duty included a responsibility to implement processes by which they could

detect and analyze a breach of its security systems in an expeditious period of time and to give

prompt notice to those affected in the case of a cyberattack.

          98.   DISH knew, or should have known, of the risks inherent in collecting the Private

Information of Plaintiff and Class Members and the importance of adequate security. DISH was

on notice because on information and belief it knew or should have known that utility entities are

an attractive target for cyberattacks.



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       99.     DISH owed a duty of care to Plaintiff and Class Members whose Private

Information was entrusted to it. DISH’s duties included, but were not limited to, the following:

               a. To exercise reasonable care in obtaining, retaining, securing, safeguarding,

                   deleting. and protecting Private Information in its possession;

               b. To protect Private Information using reasonable and adequate security

                   procedures and systems that are compliant with the industry standards;

               c. To have procedures in place to prevent the loss or unauthorized dissemination

                   of Private Information in its possession;

               d. To employ reasonable security measures and otherwise protect the Private

                   Information of Plaintiff and Class Members pursuant to the North Carolina

                   Deceptive Trade Practices Act;

               e. To implement processes to quickly detect a data breach and to timely act on

                   warnings about data breaches; and

               f. To promptly notify Plaintiff and the Class Members of a data breach and to

                   disclose the types of information compromised.

       100.    DISH’s duty to use reasonable care in protecting confidential data arose not only

as a result of the statutes and regulations described above, but also because Defendant was bound

by industry standards to protect confidential Private Information.

       101.    Plaintiff and the Class Members were foreseeable and probable victims of any

inadequate security practices and DISH owed them a duty of care not to subject them to an

unreasonable risk of harm.




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       102.    DISH, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and Class Members by failing to exercise reasonable care in protecting and safeguarding

Plaintiff’s and Class Members’ Private Information within DISH’s possession.

       103.    DISH, by its actions and/or omissions, breached its duty of care by failing to

provide, or by acting with reckless disregard for, fair, reasonable, or adequate computer systems

and data security practices to safeguard the Private Information of Plaintiff and Class Members.

       104.    DISH, by its actions and/or omissions, breached its duty of care by failing to

promptly identify the Data Breach and then provide prompt notice of the Data Breach to the

persons whose Private Information was compromised.

       105.    DISH breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ Private Information;

           b. Failing to adequately monitor the security of its networks and systems;

           c. Failure to periodically ensure that its email system had plans in place to maintain

               reasonable data security safeguards; and

           d. Allowing unauthorized access to Class Members’ Private Information.

       106.    DISH had a special relationship with Plaintiff and the Class Members. Plaintiff’s

and the Class Members’ willingness to entrust DISH with their Private Information was predicated

on the understanding that DISH would take adequate security precautions. Moreover, only DISH




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had the ability to protect its systems (and the Private Information that it stored on them) from

attack.

          107.   DISH’s breach of duties owed to Plaintiff and Class Members caused Plaintiff’s

and Class Members’ Private Information to be compromised.

          108.   As a result of DISH’s ongoing failure to notify Plaintiff and Class Members

regarding exactly what Private Information has been compromised, Plaintiff and Class Members

are unable to take all the necessary precautions to mitigate damages by preventing future fraud.

          109.   DISH’s breaches of duty caused a foreseeable risk of harm to Plaintiff and Class

Members to suffer from identity theft, loss of time and money to monitor their finances for fraud,

and loss of control over their Private Information.

          110.   As a result of DISH’s negligence and breach of duties, Plaintiff and Class Members

are in danger of imminent harm in that their Private Information, which is still in the possession

of third parties, will be used for fraudulent purposes.

          111.   DISH also had independent duties under state laws that required it to reasonably

safeguard Plaintiff’s and the Class Members’ Private Information and promptly notify them about

the Data Breach.

          112.   As a direct and proximate result of DISH’s negligent conduct, Plaintiff and the

Class Members have suffered damages and are at imminent risk of further harm.

          113.   The injury and harm that Plaintiff and the Class Members suffered was reasonably

foreseeable.

          114.   The injury and harm that Plaintiff and the Class Members suffered was the direct

and proximate result of DISH’s negligent conduct.


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       115.     Plaintiff and the Class Members have suffered injury and are entitled to damages

in an amount to be proven at trial.

       116.     In addition to monetary relief, Plaintiff and the Class Members also are entitled to

injunctive relief requiring DISH to, inter alia, strengthen its data security systems and monitoring

procedures, conduct periodic audits of those systems, and provide lifetime credit monitoring and

identity theft insurance to Plaintiff and the Class Members.

                                 COUNT II
                            NEGLIGENCE PER SE
           (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
               ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

       117.     Plaintiff restates and realleges the allegations in paragraphs 1-116 as if fully set

forth herein.

       118.     Pursuant to Section 5 of the FTCA, DISH had a duty to provide fair and adequate

computer systems and data security to safeguard the Private Information, including PII, of Plaintiff

and Class Members.

       119.     Upon information and belief, DISH breached its duties by failing to employ

industry standard data and cybersecurity measures to gain compliance with those laws, including,

but not limited to, proper segregation, access controls, password protection, encryption, intrusion

detection, secure destruction of unnecessary data, and penetration testing.

       120.     Plaintiff and Class Members are within the class of persons that the FTCA is

intended to protect.

       121.     The FTCA prohibits “unfair . . . practices in or affecting commerce,” including, as

interpreted and enforced by the FTC, the unfair act or practice of failing to use reasonable measures



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to protect Private Information. The FTC publications described above, and the industry standard

data and cybersecurity measures, also form part of the basis of DISH’s duty in this regard.

        122.      DISH violated the FTCA by failing to use reasonable measures to protect Private

Information of Plaintiff and Class Members and not complying with applicable industry standards,

as described herein.

        123.      It was reasonably foreseeable, particularly given the growing number of data

breaches of Private Information, that the failure to reasonably protect and secure Plaintiff’s and

Class Members’ Private Information in compliance with applicable laws would result in an

unauthorized third-party gaining access to DISH’s networks, databases, and computers that stored

or contained Plaintiff’s and Class Members’ Private Information.

        124.      DISH’s violations of the FTCA constitutes negligence per se.

        125.      Plaintiff’s and Class Members’ Private Information constitutes personal property

that was stolen due to DISH’s negligence, resulting in harm, injury, and damages to Plaintiff and

Class Members.

        126.      As a direct and proximate result of DISH’s negligence per se, Plaintiff and the Class

have suffered and continue to suffer injuries and damages arising from the unauthorized access of

their Private Information (including PII) because of the Data Breach, including but not limited to,

damages from lost time and effort to mitigate the actual and potential impact of the Data Breach

on their lives.

        127.      DISH breached its duties to Plaintiff and the Class Members under these laws by

failing to provide fair, reasonable, or adequate computer systems and data security practices to

safeguard Plaintiff’s and Class Members’ Private Information.


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       128.     As a direct and proximate result of DISH’s negligent conduct, Plaintiff and Class

Members have suffered injury and are entitled to compensatory and consequential damages in an

amount to be proven at trial.

       129.     In addition to monetary relief, Plaintiff and Class Members also are entitled to

injunctive relief requiring DISH to, inter alia, strengthen its data security systems and monitoring

procedures, conduct periodic audits of those systems, and provide lifetime credit monitoring and

identity theft insurance to Plaintiff and the Class Members.

                                 COUNT III
                           BREACH OF CONTRACT
           (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
               ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

       130.     Plaintiff restates and realleges the allegations in paragraphs 1-129 as if fully set

forth herein.

       131.     Plaintiff and Class Members entered into a valid and enforceable contract when

they paid money to DISH in exchange for services, which included promises to secure, safeguard,

protect, keep private, and not disclose Plaintiff’s and Class Members’ Private Information.

       132.     DISH’s Privacy Policy memorialized the rights and obligations of DISH and its

customers. This document was provided to Plaintiff and Class Members in a manner and during a

time where it became part of the agreement for services.

       133.     In the Privacy Policy, DISH commits to using commercially reasonable efforts to

protect the privacy and security of personal information against unauthorized access and it

promises to only share customer information with third-parties in specified circumstances.

       134.     Plaintiff and Class Members fully performed their obligations under their contracts

with DISH.

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       135.     DISH did not secure, safeguard, protect, and/or keep private Plaintiff’s and Class

Members’ PII and/or disclosed it to third parties, and therefore DISH breached its contract with

Plaintiff and Class Members.

       136.     DISH allowed third parties to access, copy, and/or transfer Plaintiff’s and Class

Members’ PII, without permission, and, therefore, DISH breached the Privacy Policy with Plaintiff

and Class Members.

       137.     DISH’s failure to satisfy its confidentiality and privacy obligations resulted in

DISH providing services to Plaintiff and Class Members that were of a diminished value.

       138.     As a result, Plaintiff and Class Members have been harmed, damaged, and/or

injured as described herein.

       139.     In addition to monetary relief, Plaintiff and Class Members are entitled to injunctive

relief requiring DISH to, inter alia, strengthen its data security systems and monitoring procedures,

conduct periodic audits of those systems, and provide lifetime credit monitoring and identity theft

insurance to Plaintiff and Class Members.

                                 COUNT IV
                       BREACH OF IMPLIED CONTRACT
           (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
               ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

       140.     Plaintiff restates and realleges the allegations in paragraphs 1-139 as if fully set

forth herein.

       141.     This Count is pleaded in the alternative to Count III above.

       142.     Plaintiff and Class Members formed an implied contract with DISH for its services

through their collective conduct, including by Plaintiff and Class Members paying for services

and/or paying for labor or goods from DISH.

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        143.    Through DISH’s performance of, and/or sale of labor and goods and services, it

knew or should have known that it must protect Plaintiff’s and Class Members’ confidential

Private Information in accordance with DISH’s policies, practices, and applicable law.

        144.    As consideration, Plaintiff and Class Members paid money to DISH for its services,

labor and/or goods and turned over valuable PII to Defendant. Accordingly, Plaintiff and Class

Members bargained with DISH to securely maintain and store their Private Information.

        145.    DISH violated these contracts by failing to employ reasonable and adequate

security measures to secure Plaintiff’s and Class Members’ Private Information and by disclosing

it for purposes not required or permitted under the contracts or agreements.

        146.    Plaintiff and Class Members have been damaged by DISH’s conduct, including by

paying for data and cybersecurity protection that they did not receive, as well as by incurring the

harms and injuries arising from the Data Breach now and in the future.

                               COUNT V
     VIOLATION OF NORTH CAROLINA DECEPTIVE TRADE PRACTICES ACT
                (ON BEHALF OF PLAINTIFF OWEN-BROOKS
                  AND THE NORTH CAROLINA SUBCLASS)

        147.    Plaintiff Owen-Brooks restates and realleges the allegations in paragraphs 1-146 as

if fully set forth herein.

        148.    As fully alleged above, DISH engaged in unfair and deceptive acts and practices in

violation of the North Carolina Deceptive Trade Practices Act, N.C. Gen. Stat. §75-1.1.

        149.    North Carolina law declares unlawful all “unfair or deceptive acts or practices in or

affecting commerce.” N.C. Gen. Stat. § 75-1.1.

        150.    “Commerce” is defined broadly as any business activity other than “professional

services rendered by a members of a learned profession.” Id.

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       151.     DISH’s sale of satellite television services constitutes commerce under North

Carolina law.

       152.     DISH engaged in unlawful, unfair, and deceptive acts and practices,

misrepresentations, and the concealment, suppression, and omission of material facts with respect

to the sale and advertisement of the services purchased by Plaintiff Owen-Brooks and the North

Carolina Subclass in violation of N.C. Gen. Stat. § 75-1.1, including but not limited to the

following:

             a. DISH misrepresented material facts by representing that, in connection with its

                provision of services, it would maintain adequate data privacy and security

                practices and procedures to safeguard the Private Information from unauthorized

                disclosure, release, data breach, and theft;

             b. DISH omitted, suppressed, and concealed the material fact of the inadequacy of the

                privacy and security protections for the North Carolina Subclass’s Private

                Information;

             c. DISH engaged in unfair, unlawful, and deceptive acts and practices as part of its

                provision of commercial services by failing to maintain the privacy and security of

                the North Carolina Subclass’s Private Information, in violation of duties imposed

                by and public policies reflected in applicable federal and state laws, including the

                FTCA, resulting in the Data Breach; and

             d. DISH engaged in unlawful, unfair, and deceptive acts and practices with respect to

                its provision of services by failing to take proper action following the Data Breach

                to enact adequate privacy and security measures and protect the North Carolina


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               Subclass’s Private Information from further unauthorized disclosure, release, data

               breach, and theft.

       153.    The above unlawful, unfair, and deceptive acts and practices on the part of DISH

were immoral, unethical, oppressive, and unscrupulous. These acts and practices caused

substantial injury or will cause substantial injury to individuals that they could not reasonably

avoid. This substantial injury outweighs any benefits to consumers.

       154.    DISH knew, or should have known, that its computer systems and data security

practices were inadequate to safeguard the North Carolina Subclass’s Private Information and that

risk of a data breach or theft was highly likely. DISH’s actions in engaging in the above-named

deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with

respect to the rights of the North Carolina Subclass.

       155.    As a direct and proximate result of DISH’s deceptive acts and practices, Plaintiff

Owen-Brooks and members of the North Carolina Subclass suffered an ascertainable loss,

including the loss of their legally protected interest in the confidentiality and privacy of their

Private Information.

       156.    Individuals injured by unfair or deceptive acts or practices are entitled to treble

damages. N.C. Gen. Stat. § 75-16. Thus, Plaintiff Owen-Brooks and the North Carolina Subclass

seek and request treble damages, attorney fees, expenses, and costs, and injunctive relief pursuant

to N.C. Gen. Stat. §75-1.1, et seq.




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                                 COUNT VI
                           UNJUST ENRICHMENT
           (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
               ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

       157.     Plaintiff restates and realleges the allegations in paragraphs 1-156 as if fully set

forth herein.

       158.     This Count is pleaded in the alternative to Counts III and IV above.

       159.     Plaintiff and Class Members conferred a benefit on DISH by paying for products

and services that should have included data and cybersecurity protection to protect their Private

Information. DISH did not provide such protection and Plaintiff and Class Members did not

receive such protection.

       160.     DISH has retained the benefits of its unlawful conduct including the amounts

received for data and cybersecurity practices that it did not provide. Due to DISH’s conduct alleged

herein, it would be unjust and inequitable under the circumstances for DISH to be permitted to

retain the benefit of its wrongful conduct.

       161.     Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from DISH, and/or an order of this Court proportionally disgorging all profits, benefits, and other

compensation obtained by DISH from its wrongful conduct. If necessary, the establishment of a

constructive trust from which the Plaintiff and Class Members may seek restitution or

compensation may be created.




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                                 COUNT VII
                         DECLARATORY JUDGMENT
           (ON BEHALF OF PLAINTIFF AND THE NATIONWIDE CLASS OR
               ALTERNATIVELY THE NORTH CAROLINA SUBCLASS)

       162.     Plaintiff restates and realleges the allegations in paragraphs 1-161 as if fully set

forth herein.

       163.     Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described in this Complaint.

       164.     DISH owes a duty of care to Plaintiff and Class Members which required it to

adequately secure Private Information.

       165.     DISH still possesses Private Information regarding Plaintiff and Class Members.

       166.     Plaintiff alleges that DISH’s data security measures remain inadequate.

Furthermore, Plaintiff and Class Members continues to suffer injury as a result of the compromise

of her and their Information and remain at imminent risk that further compromises of her and their

Private Information will occur in the future.

       167.     Under its authority pursuant to the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

           a. DISH owes a legal duty to secure customers’ Private Information and to timely

                notify individuals of a data breach under the common law and Section 5 of the

                FTCA;

           b. DISH’s existing security measures do not comply with its explicit or implicit

                contractual obligations and duties of care to provide reasonable security procedures

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                     and practices appropriate to the nature of the information to protect individuals’

                     Private Information; and

           c. DISH continues to breach this legal duty by failing to employ reasonable measures

                     to secure individuals’ Private Information.

       168.          This Court also should issue corresponding prospective injunctive relief requiring

DISH to employ adequate security protocols consistent with legal and industry standards to protect

customers’ Private Information, including the following:

           a. Order DISH to provide lifetime credit monitoring and identity theft insurance to

                     Plaintiff and Class Members.

           b. Order DISH to comply with its explicit or implicit contractual obligations and

                     duties of care, DISH must implement and maintain reasonable security measures,

                     including, but not limited to:

                i.          engaging third-party security auditors/penetration testers as well as internal

                            security personnel to conduct testing, including simulated attacks,

                            penetration tests, and audits on DISH’s systems, on a periodic basis, and

                            ordering DISH to promptly correct any problems or issues detected by such

                            third-party security auditors;

               ii.          engaging third-party security auditors and internal personnel to run

                            automated security monitoring;

              iii.          auditing, testing, and training its security personnel regarding any new or

                            modified procedures;




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              iv.          segmenting its user applications by, among other things, creating firewalls

                           and access controls so that if one area is compromised hackers cannot gain

                           access to other portions of DISH’s systems;

              v.           conducting regular database scanning and securing checks;

              vi.          routinely and continually conducting internal training and education to

                           inform internal security personnel how to identify and contain a breach

                           when it occurs and what to do in response to a breach; and

            vii.           meaningfully educating its users about the threats they face resulting from

                           the loss of their Private Information to third parties, as well as the steps

                           DISH’s customers must take to protect themselves.

       169.         If an injunction is not issued, Plaintiff and Class Members will suffer irreparable

injury and will lack an adequate legal remedy to prevent further injury in the event of, another data

breach at DISH. The risk of another such breach is real, immediate, and substantial. If another

breach at DISH occurs, Plaintiff and Class Members will not have an adequate remedy at law

because many of the resulting injuries are not readily quantifiable.

       170.         The hardship to Plaintiff and Class Members if an injunction does not issue exceeds

the hardship to DISH if an injunction is issued. Plaintiff and Class Members will likely be

subjected to substantial identity theft and other related damages. On the other hand, the cost of

DISH’s compliance with an injunction requiring reasonable prospective data security measures is

relatively minimal, and DISH has a preexisting legal obligation to employ such measures.

       171.         Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing a subsequent data breach at


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DISH, thus preventing the additional future injury to Plaintiff and Class Members whose Private

Information would be further compromised.

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff, on behalf of herself and the Classes described above,

seeks the following relief:

           a. An order certifying this action as a class action under Fed. R. Civ. P. 23, defining

               the Classes as requested herein, appointing the undersigned as Class counsel, and

               finding that Plaintiff is a proper representative of the Classes requested herein;

           b. Judgment in favor of Plaintiff and the Class Members awarding them appropriate

               monetary relief, including actual damages, statutory damages, equitable relief,

               restitution, disgorgement, and statutory costs;

           c. An order providing injunctive and other equitable relief as necessary to protect the

               interests of the Plaintiff and Classes as requested herein;

           d. An order instructing DISH to purchase or provide funds for lifetime credit

               monitoring and identity theft insurance to Plaintiff and Class Members;

           e. An order requiring DISH to pay the costs involved in notifying Class Members

               about the judgment and administering the claims process;

           f. A judgment in favor of Plaintiff and the Classes awarding them pre-judgment and

               post-judgment interest, reasonable attorneys’ fees, costs, and expenses as allowable

               by law, and

           g. An award of such other and further relief as this Court may deem just and proper.




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                              DEMAND FOR JURY TRIAL

            Plaintiff demands a trial by jury on all triable issues.

DATED: May 9, 2023.                    Respectfully submitted,


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